Case 2:05-cr-20177-SH|\/| Document 78 Filed 06/20/05 Page 1 of 2 Page|D 80

F&HJBY__ QC_
IN THE UNITED STATES DISTRICT COURT ”

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UNITED sTATEs oF AMERICA, W_D_ op m MEMFH,S
vs. No. 05~20177-Ma

CHARLES L. PRICE,

Defendant.

 

ORDER GRANTING PERMISSION FOR DEFENDANT TO TRAVEL

 

Before the court is the June 17, 2005, motion by defendant
requesting permission to travel to Atlanta, Georgia, for the
purpose of consulting With his attorney, Tony L. Axam, 1280 West
Peachtree St., N.W., Suite 310, Atlanta, Georgia, 30309. Counsel
for the government does not object to the motion provided Mr.
Price coordinates such travel in advance with the Pretrial
Services Office. For good cause shown, the motion to travel is
granted and defendant is allowed to travel to Atlanta, Georgia,
to meet With his attorney on such dates and for such periods of
time as may be authorized in advance by the Pretrial Services
Office.

It is so ORDERED this l‘7“\day of June, 2005.

JA/M//__._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

